
USCA1 Opinion

	





          January 30, 1995                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1924                               WILLIAM J. MURPHY, ET AL.,                                Plaintiffs, Appellees,                                          v.                                    DARWIN MOLINO,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                       [Hon. Rya W. Zobel, U.S. District Judge]
                                           ___________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                          Boudin and Stahl, Circuit Judges.
                                            ______________                                 ____________________            William J. Murphy, Jr. on brief pro se.
            ______________________            Darwin Molino on brief pro se.
            _____________                                 ____________________                                 ____________________



                      Per Curiam.   Darwin Molino rented  a cabin from  a
                      __________            trust of  which William J. Murphy,  Jr. is trustee.   After a            dispute  about  Molino's  non-payment  of  rent,  the Bristol            housing  court  at  Murphy's  behest  issued  a  summons  and            complaint  on December  20,  1993.   An attempted  settlement            broke down, and in May 1994, Molino sought  unsuccessfully to            transfer  the  pending  case  to  the  Massachusetts  Supreme            Judicial Court.                      When this  effort failed,  Molino on June  3, 1994,            filed a petition to remove the case to federal district court            relying  on federal  question jurisdiction,  see 28  U.S.C.  
                                                         ___            1441(c), and on a provision allowing removal by defendant who            is denied or cannot  enforce in state court his  "equal civil            rights."   28 U.S.C.    1443(1).   Removal was improper.   No            federal  question  arises  on  the  face  of  the  complaint,            Oklahoma  Tax Commis. v. Graham, 489 U.S. 838 (1989); and the
            _____________________    ______            equal rights provision relates to racial equality, Johnson v.
                                                               _______            Mississippi, 421  U.S.  213,  219  (1975),  whereas  Molino's
            ___________            concern  is  with  a  supposed  violation of  his  "right  to            confidentiality" during a mediation proceeding.                      On  July 29,  1994,  the  district court  dismissed            Molino's removed  action for lack of  jurisdiction.  Judgment            was  entered on  August 1,  1994, and  Molino filed  a timely            appeal.   Apparently after the dismissal  the Bristol housing            court ordered the sheriff to take possession of the cabin and



            to  collect past rent, interest  and costs.   Molino sought a            temporary restraining order from the district  court, seeking            to  prevent the  eviction.   The  district  court denied  the            motion.   On this appeal, Molino continues to insist that the            district court did  have jurisdiction over the  case and asks            that the housing court's writ to the sheriff be vacated.                      Molino's  brief on  appeal is  a two-page  document            that  is mainly  a cross-reference  to appended  statutes and            other  papers.  Despite  Molino's conclusory assertion, there            is no basis for  believing that federal question jurisdiction            exists in  the district court or that this is a case in which            equal rights removal is justified.  If Molino were asking for            a remand rather than dismissal, he would arguably be entitled            to that relief, see 28 U.S.C.    1447(c); Ronan v. Stone, 396
                            ___                       _____    _____            F.2d 502,  503 (1st Cir.  1968), but  apparently the  housing            court is the last place he wants to be, and we have no reason            to consider relief that Molino himself does not seek.                      Molino's  more  interesting  argument is  that  the            housing court should not  have proceeded with the  case after            dismissal by  the  district court  since  the case  had  been            removed, never remanded, and  apparently never refiled in the            housing  court.  If the  state court had  proceeded while the            case  was pending  in  federal district  court,  it would  be            acting  contrary to  the  district court's  plenary authority            over the removed  action, and the district court would indeed                                         -3-
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            have  had  authority to  protect its  own jurisdiction.   See
                                                                      ___            generally  Hyde Park Partners, L.P. v. Connolly, 839 F.2d 842
            _________  ________________________    ________            (1st Cir. 1988).  But here the housing court apparently acted            only  after  the federal  court  had dismissed  the  case and            relinquished authority over it.                      Whether the housing court  should have required the            papers to be refiled by  Murphy is a matter of state law.  If            there was any error  in the manner in  which the state  court            reassumed authority  over the case,  Molino was free  to seek            review  in the  state system.   This  court, however,  is not            entitled  to engage collaterally  in review of  a state court            judgment where  federal jurisdiction  has not been  infringed            upon.  Rooker v. Fidelity Trust, 263 U.S. 413 (1923).
                   ______    ______________                      We  affirm  the  judgment of  the  district  court.
                          ______            Molino's motion to expedite this appeal is dismissed as moot.
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